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 1                                                                  HONORABLE RONALD B. LEIGHTON
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 8                                    UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF WASHINGTON
 9                                             AT TACOMA
10     UNITED STATES OF AMERICA,
11                                                         Case No. CR03-5426 RBL
                               Plaintiff,
12                     v.                                  ORDER
13     RICHARD T. BROWN,
14                             Defendant.
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17          THIS MATTER comes on before the above-entitled Court upon Defendant’s Motion for

18   Reconsideration [Dkt. #164].

19          Having considered the entirety of the records and file herein, the Court rules as follows:

20          The defendant seeks reconsideration of this Court’s Order Denying Re-Sentencing [Dkt. #162] in

21   which this Court declined to impose a different sentence after remand by the United States Court of Appeals

22   for the Ninth Circuit pursuant to United States v. Ameline, 409 F.3d 1073 (9th Cir. 2005). The defendant

23   argues that the Court erred when it considered his inability to control his drug addiction, his related criminal

24   conduct, and his sentence in relation to that of his co-defendants.

25          Contrary to the defendant’s assertions, in considering the factors set forth in 18 U.S.C. § 3553(a), the

26   Court appropriately considered that defendant’s drug addiction and use directly translates into his ongoing

27   criminal conduct. When sober, the defendant leads a law-abiding life; when using illegal substances, the

28   defendant commits crimes. Therefore, the defendant’s sentence took this fact into account pursuant to


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 1   18 U.S.C. § 3553(a)(1) and (a)(2)(C). Furthermore, under the factors set forth in 18 U.S.C. § 3553(a), Mr.
 2   Brown was sentenced appropriately in relation to his co-defendants based on his actions and his criminal
 3   history. It is therefore
 4             ORDERED that Defendant’s Motion for Reconsideration [Dkt. #164] in DENIED.
 5             The Clerk shall send uncertified copies of this order to all counsel of record, and to any party appearing
 6   pro se.
 7             Dated this 6th day of July, 2006.


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                                               RONALD B. LEIGHTON
10                                             UNITED STATES DISTRICT JUDGE
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     ORDER
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